
PER CURIAM.
In accordance with Lund v. State, 658 So.2d 679 (Fla. 1st DCA 1995), we strike the civil restitution lien order entered in this ease, based on its noncompliance with the requirements of section 960.292(8), Florida Statutes (Supp.1994). As was the case in Lund, the lien at issue here is invalid in that it does not identify the person or entity in whose favor it is imposed. In view of this disposition, we decline to reach the other issues presented by appellant regarding the interpretation of the statute and its constitutionality.
Accordingly, the lien is stricken and this cause is remanded for further proceedings consistent with Lund. In all other respects, the judgment and sentence of the trial court is affirmed.
JOANOS, MICKLE and VAN NORTWICK, JJ., concur.
